      Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 1 of 12




                                    In the
        UNITED STATES DISTRICT COURT
                                    For the
            Western DISTRICT OF WISCONSIN

Nathan M. Poke,

      Plaintiff,

       v.                                 Case No. 19-cv-33

The City of La Crosse, Wisconsin,
and Ron Tischer, Chief of Police,

      Defendants.



        Plaintiff’s Motion to Compel Discovery I:

 Plaintiff’s First Set of Written Discovery Requests


                                THE JEFF SCOTT OLSON LAW FIRM, S.C.
                                JEFF SCOTT OLSON
                                State Bar Number 1016284
                                131 West Wilson Street, Suite 1200
                                Madison, WI 53703-3225
                                Phone:      608 283-6001
                                Fax:        608 283 0945
                                Email:      jsolson@scofflaw.com
           Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 2 of 12




                                                          Table of Contents



Statement of the Case .................................................................................................................. 1
Relevant Federal Rules ................................................................................................................ 1
Argument ...................................................................................................................................... 4
Conclusion .................................................................................................................................... 8




                                                                       i
       Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 3 of 12




                                  Statement of the Case

       This race discrimination action was filed on January 20, 2019, by Nathan Poke, a

black former La Crosse, Wisconsin, police officer, against the City of La Crosse and its

police chief, Ron Tischer. Officer Poke alleged that he had been unlawfully

discriminated against on the basis of his race “when he was placed on leave and

relieved of his most significant duties, and then investigated and constructively

discharged from his employment.” (Dkt. # 1, ¶¶ 501, 502, 503.) The Defendants waived

service (dkt. # 3) and filed an Answer (dkt. # 5).

       The Plaintiff’s First Set of Written Discovery Requests contained 217 requests for

admissions, primarily intended to eliminate the need for proving up the details of

indisputable aspects of the Plaintiff’s history as a La Crosse police officer through

witnesses and documents. (Olson Declaration Exhibit A.) In their responses, the

Defendants objected to every single request for admission. (Olson Declaration Exhibit

D.) Many are responded to by asserting that “Defendants have made a reasonable

inquiry into the request and the information known or readily available is insufficient to

enable Defendants to admit or deny this request,” without specifying the nature of the

inquiry.




                                 Relevant Federal Rules

       Rule 36. Requests for Admission
Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 4 of 12




(a) Scope and Procedure.

      (1) Scope. A party may serve on any other party a written request
      to admit, for purposes of the pending action only, the truth of any
      matters within the scope of Rule 26(b)(1) relating to:

             (A) facts, the application of law to fact, or opinions about
             either; and

             (B) the genuineness of any described documents.

      (2) Form; Copy of a Document. Each matter must be separately
      stated. A request to admit the genuineness of a document must be
      accompanied by a copy of the document unless it is, or has been,
      otherwise furnished or made available for inspection and copying.

      (3) Time to Respond; Effect of Not Responding. A matter is
      admitted unless, within 30 days after being served, the party to
      whom the request is directed serves on the requesting party a
      written answer or objection addressed to the matter and signed by
      the party or its attorney. A shorter or longer time for responding
      may be stipulated to under Rule 29 or be ordered by the court.

      (4) Answer. If a matter is not admitted, the answer must specifically
      deny it or state in detail why the answering party cannot truthfully
      admit or deny it. A denial must fairly respond to the substance of
      the matter; and when good faith requires that a party qualify an
      answer or deny only a part of a matter, the answer must specify the
      part admitted and qualify or deny the rest. The answering party
      may assert lack of knowledge or information as a reason for failing
      to admit or deny only if the party states that it has made reasonable
      inquiry and that the information it knows or can readily obtain is
      insufficient to enable it to admit or deny.

      (5) Objections. The grounds for objecting to a request must be
      stated. A party must not object solely on the ground that the
      request presents a genuine issue for trial.

      (6) Motion Regarding the Sufficiency of an Answer or Objection.
      The requesting party may move to determine the sufficiency of an
      answer or objection. Unless the court finds an objection justified, it
      must order that an answer be served. On finding that an answer
      does not comply with this rule, the court may order either that the

                                     2
      Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 5 of 12




            matter is admitted or that an amended answer be served. The court
            may defer its final decision until a pretrial conference or a specified
            time before trial. Rule 37(a)(5) applies to an award of expenses.

      (b) Effect of an Admission; Withdrawing or Amending It. A matter
      admitted under this rule is conclusively established unless the court, on
      motion, permits the admission to be withdrawn or amended. Subject to
      Rule 16(e), the court may permit withdrawal or amendment if it would
      promote the presentation of the merits of the action and if the court is not
      persuaded that it would prejudice the requesting party in maintaining or
      defending the action on the merits. An admission under this rule is not an
      admission for any other purpose and cannot be used against the party in
      any other proceeding.



Rule 37

      (a) Motion for an Order Compelling Disclosure or Discovery.

            (1) In General. On notice to other parties and all affected persons, a
            party may move for an order compelling disclosure or discovery.
            The motion must include a certification that the movant has in
            good faith conferred or attempted to confer with the person or
            party failing to make disclosure or discovery in an effort to obtain it
            without court action.

***

            (4) Evasive or Incomplete Disclosure, Answer, or Response. For
            purposes of this subdivision (a), an evasive or incomplete
            disclosure, answer, or response must be treated as a failure to
            disclose, answer, or respond.

             (5) Payment of Expenses; Protective Orders.

                   (A) If the Motion Is Granted (or Disclosure or Discovery Is
                   Provided After Filing). If the motion is granted—or if the
                   disclosure or requested discovery is provided after the
                   motion was filed—the court must, after giving an
                   opportunity to be heard, require the party or deponent
                   whose conduct necessitated the motion, the party or
                   attorney advising that conduct, or both to pay the movant's
                                            3
       Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 6 of 12




                     reasonable expenses incurred in making the motion,
                     including attorney's fees. But the court must not order this
                     payment if:

                            (i) the movant filed the motion before attempting in
                            good faith to obtain the disclosure or discovery
                            without court action;

                            (ii) the opposing party's nondisclosure, response, or
                            objection was substantially justified; or

                            (iii) other circumstances make an award of expenses
                            unjust.

***

                     (C) If the Motion Is Granted in Part and Denied in Part. If the
                     motion is granted in part and denied in part, the court may
                     issue any protective order authorized under Rule 26(c) and
                     may, after giving an opportunity to be heard, apportion the
                     reasonable expenses for the motion.


                                             Argument

       “The purpose of [Rule 36] is to reduce the costs of litigation by eliminating the

necessity of proving facts that are not in substantial dispute, to narrow the scope of

disputed issues, and to facilitate the presentation of cases to the trier of fact.” T. Rowe

Price Small-Cap Fund, Inc. v. Oppenheimer & Co., Inc., 174 F.R.D. 38, 42 (S.D.N.Y. 1997).

The purpose for requests for admissions is simply to eliminate the necessity of proving

uncontroverted facts. In re Sziel, 209 B.R. 712 (Bkrtcy N.D. Ill. 1997). One court explains

that the “quintessential” function of requests for admission is to permit narrowing of

the issues, thus facilitating the presentation of cases, or, at a minimum, providing notice

of those facts and opinions that remain in dispute. Lakehead Pipe Line Co. v. American

                                              4
         Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 7 of 12




Home Assur. Co., 177 F.R.D. 454 (D. Minn. 1997). Another opines that the purpose of the

rule allowing requests for admissions is to expedite trial by establishing certain material

facts as true, thus narrowing the range of issues for trial. Safeco of America v. Rawstron,

181 F.R.D. 441 (C.D.Cal. 1998); Chicago Dist. Council of Carpenters Pension Fund v.

P.M.Q.T., 169 F.R.D. 336 (N.D.Ill 1996).

         Under Rule 36(a), “[a]n answering party may not give lack of information or

knowledge as a reason for failure to admit or deny unless the party states that the party

has made reasonable inquiry and that the information known or readily obtainable is

insufficient to enable the party to admit or deny.” T. Rowe Price Small-Cap Fund, Inc. v.

Oppenheimer & Co., 174 F.R.D. 38, 42 (S.D.N.Y.); Concerned Citizens of Belle Haven v. Belle

Haven Club, 223 F.R.D. 39, 44 (D. Conn. 2004). See also, Wright and Miller Federal

Practice and Procedure 2d, Vol. 8 A, pp. 556-57 (If a party lacks sufficient information

upon which to admit or deny a request, it must exercise “reasonable inquiry” and must

explain what actions it will take to obtain the information that will enable it to admit or

deny.)

         Rule 36 requires that the response to a request for admission, if other than an

admission, “specifically deny it or state in detail why the answering party cannot

truthfully admit or deny … The answering party may assert lack of knowledge or

information as a reason for failing to admit or deny only if the party states that it has

made reasonable inquiry and that the information it knows or can readily obtain is




                                              5
       Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 8 of 12




insufficient to enable it to admit or deny.” As the Southern District of New York

summarized:

       In responding to a properly stated request, a party must make “reasonable
       inquiry” of “information known or readily obtainable by him” that allows
       him to fairly admit or deny the request. He may not give lack of
       information or knowledge as a reason for failure to admit or deny unless
       he has made such inquiry. What constitutes “reasonable inquiry” and
       what material is “readily obtainable” is a relative matter that depends
       upon the facts of each case. However, “[b]ecause rule 36 admission
       requests serve the highly desirable purpose of eliminating the need for
       proof of issues upon trial, there is a strong disincentive to finding an
       undue burden [in responding] where the responding party can make the
       necessary inquiries without extraordinary expense or effort....”


T. Rowe Price Small-Cap Fund, Inc. v. Oppenheimer & Co., Inc., 174 F.R.D. 38, 43 (S.D.N.Y.

1997). (internal citations omitted.) “On finding that an answer does not comply with

this rule, the court may order either that the matter is admitted or that an amended

answer be served.” Fed.R.Civ.P. 36(6). A proper result would be an order deeming the

improperly responded to requests for admissions admitted. See e.g., Taborn v. Unknown

Officers, No. 00-625, 2001 WL 138908 (N.D. Ill. Feb. 16, 2001).

       The Defendants’ responses to many of the requests for admissions are legally

insufficient pursuant to Fed.R.Civ.P. 36(a)(4), because though the Defendants state they

have made a reasonable inquiry, it seems impossible that they actually did, and they

have not, as the rule requires, set forth “in detail” the nature of the inquiry they made.

       For instance, how could it be impossible to admit or deny Request No 21, which

reads, “Officer Poke asked Sergeant Dittman what the protocol was for supervisors

searching department vehicles, and then asked Sergeant Dittman if Dittman could
                                             6
       Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 9 of 12




search Poke and Ulrich’s squad car.” A “reasonable inquiry” would involve asking

Sergeant Dittman if this occurred, and the only way such an inquiry could fail to

support an admission or denial would be if Sergeant Dittman does not remember, in

which case this should be stated explicitly. Rule 36(a)(4) provides, “If a matter is not

admitted, the answer must specifically deny it or state in detail why the answering party

cannot truthfully admit or deny it.” (emphasis supplied.) See, e.g., A. Farber & Partners,

Inc. v. Garber, 237 F.R.D. 250, 257 (C.D. Cal. 2006)(ordering “declarations setting forth in

detail the nature of the ‘reasonable inquiry’ they made to supplement their responses.”)

       In addition to the duty imposed by Rule 36, Interrogatory No 2 asked, “If your

response to any of the following requests for admission is anything other than an

unqualified admission, please set forth the basis for each denial and identify any and all

documents, facts and witnesses that support your response.” The Defendants’ response

was simply a complete objection to providing this information:

       RESPONSE: Defendants object to this discovery request as overly broad,
       vague, ambiguous, and unduly burdensome. Further, Defendants object
       as this discovery request seeks information that is neither relevant nor
       proportional to the needs of the case, considering the importance of the
       issues at stake in the action, the amount in controversy, the parties’
       relative access to relevant information, the parties’ resources, the
       importance of the discovery in resolving the issues, and whether the
       burden or expense of the proposed discovery outweighs its likely benefit.

(Olson Declaration, Exhibit D, 4-5.)

       It is impossible to justify this objection where, for example, the basis for a failure

to admit is simply that Sergeant Dittman does not remember, or to justify it in relation

to Request for Admission 84: “Officer Poke told the captains that Ulrich had confiscated
                                              7
       Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 10 of 12




methamphetamine but thrown it away, and that he had stolen while on duty,” where a

reasonable inquiry would simply require asking the captains and answering this

interrogatory would be as simple as saying, “The captains don’t remember,” if that is

the case.

       Moreover, it is a boilerplate objection that simply sets forth in general and

conclusory terms every single basis upon which an objection might be based. Answers

to interrogatories that are “evasive, repetitive, incomplete, and consist[ing] almost

exclusively of inappropriate general objections that [are] cut and pasted in response to

each” question are inappropriate and can be severely sanctioned at the discretion of the

Court. Green v. Illinois Power Co., 640 F.Supp.2d 1043 (C.D.Ill, July 24, 2009).

“Objections to interrogatories must be specific and be supported by a detailed

explanation why the interrogatories are improper. General objections may result in

waiver of the objections.” In re Folding Carton Antitrust Litigation, 83 F.R.D. 260, 264

(D.C.Ill., 1979). (internal citations omitted.)



                                             Conclusion

       The Court should grant the Plaintiff’s Motion to Compel Discovery I, with costs

including reasonable attorneys’ fees.

       Specifically, the Court should order the Defendants to submit amended

responses to the Plaintiff’s First Set of Written Discovery Requests in which they:

             A.      Eliminate the boilerplate objections to every single request.
       See generally Burkybile v. Mitsubishi Motors Corp., No. 04 C 4932, 2006 WL
                                                  8
       Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 11 of 12




        2325506, at *6 (N.D.Ill. Aug.2, 2006) (collecting cases rejecting boilerplate
        objections to discovery requests);1 and

                B.     Either respond squarely to each requested admission or, if
        they have made a reasonable inquiry and remain unable to admit or deny,
        state in detail the nature of the inquiry they have made.

                C.      Respond completely and substantively to Interrogatory No. 2.




        Dated this Monday, December 09, 2019.

                                Respectfully submitted,

                                Nathan M. Poke,

                                Plaintiff

                                By


1See, e.g., Judge Mark Bennett’s opinion in Liguria Foods, Inc. v. Griffith Labs., Inc., 320 F.R.D.
168, 184–85 (N.D. Iowa 2017)

        As I explained a decade and a half ago, “the mere statement by a party that the
        interrogatory [or request for production] was overly broad, burdensome,
        oppressive and irrelevant is not adequate to voice a successful objection”; “[o]n
        the contrary, the party resisting discovery must show specifically how ... each
        interrogatory [or request for production] is not relevant or how each question is
        overly broad, burdensome or oppressive.” St. Paul Reins. Co., Ltd., 198 F.R.D. at
        511–12 (internal quotation marks and citations omitted). In other words, “merely
        assert[ing] boilerplate objections that the discovery sought is vague, ambiguous,
        overbroad, unduly burdensome, etc.... without specifying how each
        [interrogatory or] request for production is deficient and without articulating the
        particular harm that would accrue if [the responding party] were required to
        respond to [the proponent's] discovery requests” simply is not enough. Id. at 512.
        Again, I have found nothing to suggest that such responses are now considered
        adequate; rather, there is precedent too ample to cite, in both the Eighth Circuit
        and the Seventh Circuit, where the lead attorneys for both sides have their
        offices, demonstrating the insufficiency of such responses.

Liguria Foods, Inc. v. Griffith Labs., Inc., 320 F.R.D. 168, 184–85 (N.D. Iowa 2017)
                                                   9
      Case: 3:19-cv-00033-slc Document #: 32 Filed: 12/09/19 Page 12 of 12




                                    THE JEFF SCOTT OLSON LAW FIRM, S.C.
                                    JEFF SCOTT OLSON
                                    State Bar Number 1016284
                                    131 West Wilson Street, Suite 1200
                                    Madison, WI 53703-3225
                                    Phone:      608 283-6001
                                    Fax:        608 283 0945
                                    Email:      jsolson@scofflaw.com


                                    /s/ Jeff Scott Olson
                                    _________________________
                                    Jeff Scott Olson


                                    ATTORNEYS FOR PLAINTIFF




                                    Certificate of Service

I hereby certify that on Monday, December 09, 2019, I electronically filed the foregoing with

the Clerk of the Court using the ECF system which will send notification of such filing to

the following: Christopher P. Riordan, and I hereby certify that I have mailed by United

States Postal Service the document to the following non ECF participants: none.


                                           _____/s/ Jeff Scott Olson_____




                                             10
